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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

                Plaintiff,
                                                    Case No. 1:21-CR-00619-BAH
       v.

ERIK HERRERA,

                Defendant.



                     ORDER CONTINUING SELF-SURRENDER DATE

       Having reviewed the defense’s unopposed motion to continue defendant Erik Herrera’s

self-surrender date, ECF No. 87, the Court GRANTS the motion and orders the defendant’s

self-surrender date continued from March 2, 2023, at 2:00 PM to March 10, 2023, at 2:00 PM.

       IT IS SO ORDERED.


DATED: Feb. 22, 2023
                                           HON. BERYL A. HOWELL
                                           Chief United States District Judge




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